Case 9:19-cv-81160-RS Document 184-1 Entered on FLSD Docket 02/25/2020 Page 1 of 50
                                                                                                 C_ t~ L
                                                                           555 Eleventh Street, N.W., Suite 1000
                                                                           Washington, D.C. 20004-1304
                                                                           Tel: +1.202.637.2200 Fax: +1.202.637.2201
                                                                           www.lw.com

                                                                           FIRM 1AFFILIATE OFFICES
        'A
LAT H        M &WATKIN S:,LLP                                              Beijing                Moscow
                                                                           Boston                 Munich
                                                                           Brussels               New York
                                                                           Century City           Orange County
                                                                           Chicago                Paris
                                                                           Dubai                  Riyadh
                                                                           Diisseldorf            San Diego
      February 11, 2020                                                                           San Francisco
                                                                           Frankfurt
                                                                           Hamburg                Seoul
                                                                           Hong Kong              Shanghai
                                                                           Houston                Silicon Valley
                                                                           London                 Singapore
                                                                           Los Angeles            Tokyo
     -VIA PERSONAI., SERVICE                                               Madrid                 Washington, D.C.
                                                                           Milan



     L3Hanis TechiZoloaies, Inc.
     c o Corporation Service Company (Registered Agent)
     251 Little Falls Dr.
     Wilmington, DE 19808

                    Re:    Apple Inc. v. Coi•elliuiya, LLC, 9:19-cv-81160-.RS (S.D. .Fla.)


     Dear Representative of L3Harris Technologies, Ine.:

              I am an attorney for Apple, Inc. As indicated in the enclosed subpoenas, Apple seeks the
     production of documents in the possession, custody, or control of L3Harris Technologies, Inc.
     related to the above-referenced litigation, as well as testimony at a deposition. As indicated in
     the subpoenas, production is called for by Februaiy 25, 2020, and the deposition is scheduled for
     March 9, 2020. However, we would be happy to discuss timing and any otlier issues arising in
     connection with these subpoenas. I have also enclosed a copy of the governing protective order
     in this case.

        _   Please do not hesitate to xeach out with any questions regarding the subpoenas or
     otherwise. You can reach me at (202) 637-2303. I look forward to hearing from yo>.t.



                                                          Best regards,


                                                                  . . . .. , '    ... ' J~', '
                                                                                                   ..     _.   •. ~' , r..,,, aA.
                                                          w                  ~1                                                C✓
                                                          Elana Nighf~ngale Dawson
                                                          of LATHAM &- WATKINS LLP
Case 9:19-cv-81160-RS Document 184-1 Entered on FLSD Docket 02/25/2020 Page 2 of 50


 AO 38B (Rev. 02/14) Subpoena to Produce llocuments, lnformation, or Ohiects or to Permit hispection of Premises in a C.ivil Action


          ~                              L7NITED STATES DISTRICT COURT
                                                                             for the
                                                              Sotlthern District of Florida

                            APPLE INC.,
                                                                                 )
                                 PtanTtlff                                       )
                                    V.                                           )       Civil Action No. 9:19-cv-81160-RS
                         CORELLIUM, LLC,                                         )
                                                                                 )
                               Defenciant                                        )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OB.IECTS
         --                OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                              L3Harris Technologies, Inc.

                                                         (:b'ame ofperson to whom th1.s subpoena rs drrected)

     iK Productiotz: YOU ARE COIVIMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or saniplin~ of the
 material:See Attachment A



  Place: Lash & Goldberg LLP, Weston Corporate Centre I                                    Date and Time:
              2500 Weston Road, Suite 220
                                                                                                               02/25/2020 5:00 pm
              Fort Lauderdale, FL 33331

      0 Irrspection ofPremises: YOU ARE COMIVIANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting pat-ty
 may inspect, measure, survey, photograph, test, or sample the propei-ty or any designated object or operation on it.

  Place:                                                                                  Date and Ttme:




      -= The followin, provisions of Fed: R. Civ. P: 45 are attached — Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relatina to your duty to
 respond to this subpoena and the potential consectuences of not doing so.

 Date: 02/10/2020

                                    CLERKOFCOURT                                                       _;' 7 ~         ,,~a.- V9                                           _.~. ~
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                                                                                              OR                       _             ~ t..
                                                                                                                                              t
                                                                                                                                                               ~~`•4~.~.~`, f. T~•:T:,.~~~w_
                                                                                                          '✓.~'~             ~ .'   ::' '.'       : I. ,: ~. .. _. . _ .. . . ;.i
                                                                                                                                        ~ '                                                ~~✓~
                                             Signntrrre of Clerk or- Deputv Clerlc                                         :4~Mirnei~' y, signature
                                                                                                                             _     r~

 The nanie, address, e-mail address, and telephone number of the attorney representing (r,alne ofparry)                                                      Apple, Inc.

                     _                                                                              , who issues or requests this subpoena, are:
Elana Nightingale Dawson, LATIIAIVi R WATKINS LLP
555 ]]th St., NW. Suite 1000, Washington, D.C. 20004, clana.niglitingaleda-,vson(i~.lw.com, 202-637-2303

                                 Notice to the person who issues or requests this subpoena
  lf this subpoena commands the production of documents, electronically stored information, or tangible things or the
  inspection of premises before trial, a notice and a copy of the subpoena must be served on each pai-ty in this case before
°-it is served on the person to whoin it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 38B (Rev. 02(14) tiubpoena to Produce Docunients, Information, or Objects or to Perniit Inspection of Premises in a Civil Actlon (Page 1)
                                                                                                                                          -


Civil-Ac#ion No. 9:19-cv-81160-RS .

                                                                 PROOF OF SERVICE
                      (Tlris section should not be filerl witlt the cotrrt unless required by Fed. R. Civ. P. 45.)

           I received this subpoelia fot' (name of iridivi(kraf and title, if airy)
011 (date) .


          0 1 served the subpoena by delivering a copy to the nained person as follows:


                                                                                             oil (date)                                   ; or

          0 I retumed the subpoena unexecuted because:



          Unless the subpoena was issued on behalf of the Un.ited States, or one of its ofticers or agents, I have also
          tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in tlie amount of
          $                                         .



My fees are $                                       for travel and $                              for services, for a total of $



           I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server's signctture




                                                                                                   Printeci name arid title




                                                                                                      Server's address



Additional information regarding attenlpted service, etc.:
Case 9:19-cv-81160-RS Document 184-1 Entered on FLSD Docket 02/25/2020 Page 4 of 50


r.r. AO 38B (Rev. 02/1-4) Subpoena to Pnxiuce Docunients, Inf'ormation, or Objects or to Perniit Inspection of Premises in a Civil Action(Page 3)

                                Federal Rule of Civil Procedure. 45 (c), (d), (e), and (g) (Effective .12/1/13)
  (c) Place of Complianee.                                                                 (ii) disclosing ait unretained expert's opiuion or information that does
                                                                                      not describe specific occttrrences in dispute and results from the espert's
    (1) For a.Trial, Hearing, or Deposition. A subpoena mav conirnand a               studv that was not reqttested by a party.
  person to attend a trial, hearing, or deposition only as follows:                      (C) Speci(ving Corrdiriotrs as mc . llternative. In tlre circumstances
     (e1) tvithin 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court uiay, instead of quashing or
  regularly transacts business in pet-son; or                                         modilying a subpoena, order appearance or production under speciticd
     (B) within tlie state where the person resides, is employed, or re,ularly        conditions ifthe serving party:
  transacts business in parson, if the person                            y.                (i) shows a substantial need for the testimonv or material that cannot be
        (i) is a party or a party's of9icer; or                                       otherwise met without tmdue hardship; and
        (ii) is commanded to attend a trial and wrould not incur substantial               (ii) ensures that the subpoenaed person will be reasonablv compensated.
  e:xpense.
                                                                                      (e) Duties in Respondine to a Subpoena.
    (2) For Ot/rer Discovery. A subpoena may command:
     (A) production of documents, electronically stored information, or                 (1) Prodtrcb:g Docfanents or Electroruca[ly Stored Inforntation. These
  tangible thin,s at a place within 100 miles ol'where the person resides, is         procedures apply to producing docuincnts or electronically stored
  employed, or re,tdarly transacts business in person; and                            information:
     (B) inspection of premises at the premises to be iuspected.                         (A) Docurrrents. A person responding to a subpoena to produce doeuments
                                                                                      must produce tlieui as tltev are kept in the ordinary course ofbusiness or
  (d) Protecting a Person Subject to a Snbpoena; Enforcement.                         must oroanize and label them to correspond to the cateQories in the demand.
                                                                                         (B) For-nt for- Pr-oducirtg Electronicallv Stored Information ;Vot Specifrecl.
   (l ).4 voiding C%ndne Bru•den or 6apense; Sarections. A party or attornev          [f a subpoena does not specify a forni For producina electronically stored
  responsible for issuing.and servinad subpoena must.take re.uonable steps            inionnation, the person respondino rnust produce it in a form or forms in
  to avoict imposing undue burden or expense on a person sul?ject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
  subpoena. lite court for the district Nvltere compliance is required must              (C) Electronicallv Stored brforrnation Prodnced in Orrlv Orre Forrn. T1te
  enforce this duty and impose an appropriate sanction—which may include              persou responding need not produce tlie satne electronicailv stored
  lost eai-ninss and reasonable attorney's fees—on a party or attorney who            information in more thau one form.
  fails to comply.                                                                       (D) lnaccessible Electrorticnllv Stor-ed bi/'ornration. 'I'he person
                                                                                      responding need not provide discovery ofelectronically stored iuformation
    (2) Contntand to Prottrrce ;Ylaterials or Permit hrspection.                      from sources that the person identifies as not reasonably accessible because
     (A) appearance rVot Reqiured. A person commanded to produce                      of undue burden or cost. Un motion to compel discovery or fbr a protective
  documents, electronically stored information, or tangible thinss, or to             order, the person responding must show that the infonnation is not
  permit the inspection of'premises, need not appear in person at the place of'       reasonablv accessible because of unciue burden or cost. 1 f that showino is
  productiou or inspection unless also comruanded to appear for a deposition,         made, the court mav nonetlieless order discovery from such sources if tlre
  hearing, or trial.                                                                  reqttesting party shows good cause, considering the limitations of'Rule
     (B) OUjections. A person commanded to pro(luce documents or tangible             26(b)(2)(C). "I'he court may specifv conditions tor the discoverv.
  thin.-s or to permit inspection may serve on the party or attorney desianated
  in the subpoena a written objection to inspectina, copving, testing, or             (2) Clairning Privilege or Protection.
  sampling any or all of the materials or to inspecting the premises )r to              (A) htforrnation Widaheld. A person withholding subpoenaed iuforntation
  producing electronicallv stored information in the fomi or forms requested.         under a claim that it is privileQed or subject to protection as trial-preparation
  'fhe objection must be served before the earlier of tlie titne specilied for        material must:                 V

  conipliance or 14 days after tlte subpoena is served. If an objection is made,          (i) expressly make the claim; and
  the following rules appty:                                                              (ii) describe the nature of the withheld documents, comtnunications, or
        (i) At any tiine, on notice to the conmranded persou, the serving party       tangible thinas in a manner that, witliout revealing infonnation itself
  uiay move the court for the district where compliance is requirad for an            privileeed protected, will enable the parties to ttssess the claiin.
                                                                                                  or

  order compelling production or inspection.                                            (B) Information Pr-ocluced. Ii' in forntation produced in response to a
        (ii) 'fhese acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or ofprotection as
  order must protect a person who is neither a party nor a party's o1'ficer from      trial-preparation material, the person making the claim mav notily any party
  siQnifrcant expense resultine liom compliance.                                      that received the information of the claim and the basis for it. Afte.r being
                                                                                      notified, a party must promptiv retm7i, sequester, or destroy the specified
   (3) Onashiug or Modrfying a Snbpoenn.                                              infonrtation attef any copies it has; must not use or disclose the infomiation
     (:1) Wften Required. On timely motion, the cottrt for the district where         tmtil the claim is resolved; must take reasonable steps to retrieve the
  compliance is requirecl must qua.sh or modi fy a subpoena that:                     inforntation if the party disclosed it betore being notified; and may promptly
        (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
        (ii) requires a person to conrply bevonef the ecographical limits             couipliance is required for a detemiination of ttie claim. The person who
  specified in Rule =1_5(0;                                                           produced the infonnation must preserve the information until the claim is
        (iii) requires disclosure ofprivileged or other protected niatter, ifno       resolved.
  exception or waiver applies; or
        (iv) subjects a person to undue burdcn.                                       (n)Contempt.
    (B) Whes Pennirted. 'ro protect a person subject to or affected by a              The court lbr the district wliere cotnpliance is required—and also, aitcr a
  subpocna, the court for the district whcre compliatrce is required may, on          motion is transfern;d, the issuing cotul—mav hold in contempt a person
  motion, quash or tnodify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
         (i) disclosiug a tracie secrct or other confidential research,               subpoena or an order related to it.
  development, or commercial infonnation; or



                                            Por access to subpoena materials, see Fed. R. Civ. P. 45(a) Commitlee Note (2013).
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                                           ATTACHMENT A
                                       TO DOCUMENT SUBPOENA

                                                DEFINITIONS

             The tenns herein shall be given the broadest meanin(y allowed under the Federal Rules of

     Civil Procedure atld the Local Rules. Additionally, as used herein, the terms.set forth below

     shall have the followinc, meanings:

             1. "Plaintiff' means Apple Inc.

             2. "Corellium" and "Defendant" means Corellium, LLC and any of its predecessors,

     successors, divisions, direct or indirect subsidiaries, parent entities, or other affiliated corporate

     entities, includina any agents or Person actinc, on their belialf or under their control.

             3. "You" and "Your" means L31-larris Technolouies, Inc., and any of its predecessors,

     successors, divisions, direct or indirect subsidiaries, parent entities, or other affiliated corporate

     entities, including any agents or Person acting on their behalf or under their control, and

     specifically includes Azimuth Security Pty Ltd, Azimutli Security Trust, and Azimutli Security,

     LLC.

             4. This "Action" means the present lawsuit, Apple Inc. v. Corellitrna, LLC, No. 9:19-cv-

     81160-RS, pendinb in the United States District Court for the Southern District of Florida.

             5. The term '10S" or "i0S operating system" means Apple's iOS mobile operatinc.,

     system and other Apple operating systems, including iPadOSTM, macOSC.~, watchOS9, and

     tvOSe operating systems. Unless otherwise specifted, this term includes any and all versions of

     iOS, separately or inclusively.

             6. The term "i0S Device" means any Apple device or hardware that runs any version of

     iOS, including but not limited to the iPhoneg, Mac*), iPad®, Apple Watch®, AirPodsg,

     AppleTV®, HomePodTM, and iPod Touchg.
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U.




                  7. "Virtual Device" means software that mimics the physical hardware, fiinctionality,

          and/or look and feel of an iOS Device.

                  8. "Corellium Apple Product" means all products developed, produced, or sold by

          Corellium that can enable creation of at least one Virtual Device. Unless otherwise specified,

          this term includes any and all versions of such products, separately or inclusively.

                  9. "Person" shall mean any natural person or any legal entity, including, without

          limitation, any business or governmental entity or association.

 =                10. "Communication(s)" or "Communicated" means all written, oral, teleplionic, or other

          utterances of any nature whatsoever, shared, shown, and/or transferred between and/or among

          any Person(s), including, but not limited to, any statements, inquiries, discussions, conversations,

          dialogues, correspondence, consultations, tiegotiations, agreements, understandings, meetings,

          letters, emails, text messages, voice messages, faxes, notations, telegrams, advertisements,

          interviews, conferences, presentation, and all other pocument(s).

                 11. "Date" means the exact day, month and year, if ascertainable, or the best available

          approximation, including any relationship to other known events (designate whether exact or

          approximate).

     r~    ~     12.- Electronically Stored Inforination," abbreviated as "ESI" has the same meaning and

          scope as it has in the Federal Rules of Civil Procedure.

                  l3. "Docunient" means all documents. ESI, and tangible things in the broadest sense

          under Federal Rules of Civil Procedure 45 and Federal Rules ofEvidence 1001, and means

          anything that can be read, viewed, heard, or otherwise understood. Subject to and in accordance

          with the Instructions irfr-a, "Document" shall not be limited in any way with respect to medium,

          embodiment, or process of creation, generation, or reproduction; "Document" shall include,




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_&




     without limitation, all preliminary, intermediate, and final versions thereof, as well as any

     notations, comment, and marginalia (handwritten or otherwise) appearing thereon or therein;

     "Document" shall include originals (or high quality duplicates), all non-identical copies or drafts,

     and all attachments, exhibits, or similar items. Any Document bearing on any sheet or side

     thereof, any marks, including, without limitation, initials, notations, comments, or marginalia of

     any character which are not part of the original teYt or reproduction thereof, sliall be considered a

     separate Document.

             14. "Identify" means that the fol-lowing information shall be provided:

                    a.   When used in reference to a Document, state the (i) type of Docunient; (ii)

                         general subject matter; (iii) Date of the Document; (iv) authors(s),

                         addressee(s) and recipient(s); and (v) any applicable Bates number(s).

                    b. When used in reference to a product, state: (i) the product's eYternal and

                         internal product names and numbers; (ii) the date range the product was

                         developed; and (iii) the date range the product was available for sale or

                         license.

                    c. When used in reference to any natural person, state: (i) the person's fiill name;

      •        -     -- (ii) last-known home address; (iii) last known business address and telephone

                         number; (iv) last known title or occupation; (v) last known employer; and (vi)

                         if applicable, his or her connection to the stibject matter of the request.

                    d. When used in reference to any legal entity, such as a corporation, company, or

                         person other than a natural person, state: (i) the entity's name; (ii) the place of

                         incorporation or organization; (iii) the last known address and plione number

                         for its principal place of business; (iv) the type of entity (e.g., corporation,
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                         partnership, trust); (v) the entity's registered agent; and. (vi) the nature of the

                         business conducted by the entity.

                     e. When used in reference to any Communication, state: (i) its date and place;

                         (ii) the Person(s) who participated in it, were present during any part of it, or

                         have knowledge about it; (iii) its form (e.g., telephone conversation, text

                         message, email) and (iv) its content and substance.

             15. "Relating to," "related to," "referring to," "regarding," or "with respect to," when

     referring to any given subject matter, means without limitation any inforniation or pocument that

     in whole or in part and directly or indirectly relates to, concerns, regards, discusses, describes,

     depicts, demonstrates, shows, evidences, supports, refutes, contradicts, summarizes, analyzes,

     assesses, bears upon, commeiits upon, pei-tains to, constitutes, comprises, involves, contains,

     embodies, reflects, alludes to, identifies, states, mentions, refers to, deals with, or is any way

     relevant to the particular subject matter identified.

             16."All" should be construed to include the collective as well as the singular and shall

     mean "each," "any," and "every."

             17. The connectives "and" and "or" shall be construed either disiunctively or

    — conjunctively, as necessary,--to bring within the scope of the Request all responses that might

     otherwise be construed to be outside the scope.

             18."Any" shall be construed to mean "any and all."

             19. "Including" shall be construed to mean "including without limitation." "Including" is

     used to emphasize certain eYamples and should not be construed as limiting the Interrogatory in

     any way.

             20. The use of the singular term of any word includes the plural and vice versa.




                                                        4
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             21. The past tense includes the present tense, and vice versa, when the clear meaning is

     not distorted by changing the tense.

                                              INSTRUCTIONS

                 The requests herein cover all Documents within Your possession, custody or control,

     regardless of whether thev are currently in Your possession, including, but not limited to, all

     Documents within the possession, custody, or control of persons acting on Your behalf or at

     Your instruction.

             2. Pursuarrt to Federal Rule of Civil Procedure 45(e), You are instructed to produce

     Documents as they are kept in the usual course of business or organized and labeled to

     con•espond with the categories in this Set of Requests. Stich Docuinents sliall be designated as

     responsive to the particular Request as designated herein. Documents are to be produced in full

     and unexpurgated form.

             3. All Documents that are in paper form or that constitute other physical objects from

     which information may be visually read or viewed, as well as audio or video tapes and similar

     recordings, shall be produced in their original forni or in copies that are exact duplicates of the

     originals. All electronic Documents shall be produced in a commonly readable and searchable

   --electronic forni and shall include all metadata (i.e., information describing how, when, and by or
     to whoni the electronic Document was colleeted, created, accessed, modified, formatted,

     distributed, etc.).

             4. If any Document covered by this Set of Requests is withheld by reason of a claim of

      privilege (includin(y work product immunity), You shall fiu•nish a list within 14 days identifying

     for each withheld Document: (1) the nature of the privilege (including work product) that is

    - being claimed, (2) the type of Document withheld, (3) the general subject matter of the
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      Document, (4) the date of the Documents and (5) such otller information as is sutficient to

      Identify any withheld material, includinb, where applicable, the author(s) or source(s) of any

      Document, the addressee(s) and recipient(s) of any Document, and where not apparent, the

      relationship of the author(s) or source(s) and addressee(s) or recipient(s) to each other.

             5. ln the event that any Document called for by this Set of Requests has been destroyed,

      lost, discarded, or otheitivise disposed of, any such Document is to be identifted as completely as

      possible, includin;, without limitation, the following information: date of disposal, manner of

      disposal, reason for disposal, person authorizinc, disposal, and person who disposed of the

      Document.


                                    I)OCUIVIENTS TO BE PRODUCEI)

      REOUEST FOR PRODUCTION NO: 1:

             All Docunients and Conununications relatin; to Corelliuni.

      REQIJEST FOR PRODUCTION NO. 2:

             All Documents relatin~ to Your use of the Corelliuni Apple Product, including the nature

      of Your use of the Corellium Apple Product, the length of Your use of the Corellium Apple

      Product, and any payments made to Corellium in exchange for use of the Corellium Apple

      Product.

      REQUEST FOR PROI)LTCTION NO. 3:

             All Documents and Communications relating to Your sale or resale of the Corellium

      Apple Product to third parties, including Documents suff cient to identify all customers who

      purchased (or who You otherwise provided access) to any feature, technoloby, component, or

      part of Corellium Apple Product from You, and all Communications with such customers.




                                                        6
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             REQUEST FOR PRODUCTION NO. 4:

                     All Documents and Commuiiications relating to Cliristopher Wade.

             REOUEST FOR PRODUCTION NO. 5:

                     All Documents and Communications relating to, or constituting any license, agreement,

             contract, or covenant (wliether written or oral) to which You are a part that covers or otherwise

             relates to the Corellium Apple Product or any feature, technology, component, or part thereof, or

             any technololay in the Corellium Apple Product.

             REQUEST FOR PRODUCTION NO. 6:

                    All Documents and Conununications relating to any license, a(ireement, contract, or

             covenaiit (whether written or oral) to which You are a part that covers or otheitivise relates to

             reselling or otherwise providing access to any feature, teclinolo~y, component, or part of

             Corellium's products.

             REQUEST FOR PRODUCTION NO. 7:

                    Documents sufhcient to identify Your employees who use the Corellium Apple Product

             in the course of their employment.

             REQUEST FOR PRODUCTION NO. 8:

 •r----ja.          Documents sufficient-to identify any communications by You or any of Your employees

             to Apple based on the use of the Corellium Apple Product.




                                                               7
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 AU 33A (Rev. 02l1 t) Subpoena to Testitt, at a Deposition in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                               for the
                                                              Southern District of Florida

                             APPLE INC.
                                                                                  )
                                 PI«i«df
                                       ./I                                       )
                                    V.                                            )      Civil Action No. 9:19-cv-81160-RS
                         CORELLIUM, LLC                                          )
                                                                                  )
                                Defe«rlarzt                                       )

                               SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                L3Harris Technologies, Inc.

                                                          (rvcmie of'per•so« to wtiom this s«Gpoena ;s du•ectert)

      A~ TestinroTiti•: YOU ARE COiO'IIIANDED to appear at the time, date, and place set forth below to testifv at a
 deposition to be taken in this civil action. lf vou are an organization, you inust designate one or more officers, directors,
 or managing a`ents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment:
 See Attachment A

                                                                                                                    ----- ------
  Place: Lash & Goldberg LLP;-'VVeston Corporate Centre l                                  Date and Time:
            2500 Weston Road, Suite 220
                                                                                                               03/09/2020 9:00 am
            Fort Lauderdale, FL 33331

           The deposition will be recorded by this method: LiveNote or other stenographic and/or videographic nieans

       0 Prodltction: You, or your representatives, must also bring wit11 you to the deposition the following docunients,
           electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
           material:




        The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
 Rule 45(d), relatin; to vrour protection as a person subject to a subpoena; and Rule 45(e) and (~), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date: 02/ 10/2020
                                     CLERK OF COURT
                                                                                             •
                                                                                             o
                                              Sigriat«r•e of'Clerk or Dep«tp Clerk                                    lor~ ev ssig«ntt« e


 The name, address, e-mail address, and telephone number of the attoniey representinb (name o/'par~l )
                                                                           who issues or requests this subpoena, are:
 I31ana Nightingale Dawson, LA'I11AiV1 & WATKINS L,LP
 555 I ltli St.. NW, Suite 1000. Washington, D.C. 20004, elana.nlghtingaledawsonnlN'.00m, 202-6 37-2303

                                  Notice to the person who issues or requests this subpoena
 [f this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the persoli to
 whom itis directed. Fed. R. Civ. P. 45(a)(4).
Case 9:19-cv-81160-RS Document 184-1 Entered on FLSD Docket 02/25/2020 Page 13 of 50


 AO 88A (Rev. 02/14) Subpoena to Testifv at a Deposition iu a Civil Action (Page?)


 Civil Action No. 9:19-cv-81160-RS

                                                                PROOF OF SERVICE
                         (This sectioit shotrld not Ge filed rvith the cout•t unless i-equir•ed bj., Fed. R. Civ. P. 45.)

               I i'eceived this subpoella fol' (narne of'iirdivi(htal w:d title, ifanv)
 on   (date)



               0 I served the subpoena by deliverirlg a copy to the nanied individual as follows:


                                                                                          on   (date)                      ; ol'

               L-J I returned the subpoena unexecuted because:



               Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
               tendered to the witness the fees for one day's attendance, and the niileaae allowed by law, in the amount of
               $                                     .


 My fees are $                                       for travel and $                           for services, for a total of $     0.00



               1 declare under penalty of peijury that this information is true.


 Date:
                                                                                                   Serrer - 's signahu•e




                                                                                                 Printed name cntd title




                                                                                                    Server'.r arldress


 Additioiial information reaarding attempted service, etc.:
Case 9:19-cv-81160-RS Document 184-1 Entered on FLSD Docket 02/25/2020 Page 14 of 50


 AO 88A (Rev. 02114) Subpoena to Testily at a lleposition in a Civil Action (Page 3)

                               Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (e) Place of Compliance.                                                                  (i) disclosing a trade secret or other confidential research, development,
                                                                                     or commercial infonnation; or
   (1) For a Tr•ial. Hearing, ar• Deposition. A subpoena mav command a                    (ii) disclosing an unretained expert s opinion or inforntation that does
 person to attend a trial, hearing, or deposition only as follows:                   not describe specific ocatrrences in dispate and results from the espert s
    (A) within 100 miles ofwliere the person resides, is employed, or                studv tltat was not requested by a party.
 regularlv transacts business in person; or                                             (C) Specif •irrg Conclitiorrs as an Alternatire. In the ciretimstances
    (B) within the state where the person resictes, is euiployed, or regularly       described in Rule 45(d)(3)(B), the court uiay, instead ofquashin, or
 transacts business in person, if the person                                         modil'ying a subpoena, order appearance or production under speeitied
       (i) is a party or a party's oflicer; or                                       couciitions if the serving party:
       (ii) is commanded to attend a trial and would not iucur substantial                (i) shovvs a substantial neeti for the testimony or material that cannot be
 expense.                                                                            otherwise met without undue hardship; and
                                                                                          (ii) ensures that the subpoenaed person will be reasonably compensated.
  (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronicallv stored informatiou, pr               (e) Duties iq Responding to a Subpoena.
 taneible tlrings at a place witliin 100 miles of vvliere the person resides, is
 employed, or re,ularly transacts business in person; and                             (1) Prodtrcing Docutttents or Electronically Storerl /nfor•ntation. These
    (B) inspection of'premi.ses at the premises to be inspected.                     procedures apply to producing documents or clectronically stored
                                                                                     information:
 (d) Protccting a Person Subject to a Subpoena; Enforcement.                            (A) Documertts. A person responding to a subpoena to produce doeuments
                                                                                     niust produce them as tliey are kept in tlic ordinary course of business or
  (1) Avoitlittg Undue Burdea or Evpettse; Sattctions. A party or attorney           must orQanize and label them to correspond to the cateQories in the detnattd.
 responsible for issuinf; and serving a subpoena must take reasonable steps            (B) Form for Prodttcing Electronicallt, Stored b for•nraliart A%ot Specirled.
 to avoid intposing undue burden or expense on a person subject to the               If a subpoena does not specify a fotm for producing electronically stored
 subpoena. The court for the district where compliance is required must              inlonnation, the persou respondina must produce it in a form or forms in
 enforce this duty and impose an appropriate sanction—which tnay include             which it is ordinarily maintained or in a reasonablhr usable form or fbrms.
 lost earnings anct reasonable attornev's fbes—on a party or attorney wlio              (C) Electronically Storecl Infor»ration Prodtrced in Onlv One Forni. Tlte
 fails to comply.                                                                    person respondino need not produce the satne electronically stored
                                                                                     infonnation in more than one form.
  (2) Corntnantl to Produce ,Ylaterials or Permit fitspectiatt.                         (D) Ihcrccessible Elecn•onicallv Stored Ir for•nration. The person
     (.a) .-ippeararrce Nor Reqtrired. A person commanded to produce                 responefing need not provide discovery of electronicall_y stored infomiation
 documents, electronically stored information, or tangible things, or to             from sources that the person identifies as not rcasonably accessible because
 permit the inspection ol'premises, need not appear in person at the place of        of undue bttrden or cost. On inotion to compel discovery or fbr a protective
 production or inspection unless also coinmanded to appcar For a deposition,         order, the person responding must show that the infonnation is not
 hearirtg, or trial.                                                                 reasonably accessible because of undue burden or cost. I f that showine is
     (B) Obfections. A person commanded to produce documents or tangible             made, the court mav nonctheless order discovery from such somces if the
 thin~s or to permit inspection may serve on the party or attorney desianated        requesting party shows g 000d cause, considering the limitations of Ru)e
 in the subpoena a written objection to inspecting, copying, testing, ory            26(b)(2)(C). 'Ilte court mav specify conditions lor the discoverv.
 sampiing any or all ofthe materials or to inspecting the prentises—or to
 producing electrouically stored infonnation in the fonn or fomts requested.         (2) Clainting Privilege or Protectiott.
 'Ilie objection must be served before the earlier of the time specified for          (1) Irrfornu:tion Wit/r{reld A person withholding subpoenaed inforntation
 compliance or 14 days afler the subpoena is served. If att objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
 the following ndes apply:                                                           material must:
        (i) nt a„y time, on notice to the commanded person, the servina partv            (i) expressly make the claim; and
 may move the court for the district where compliance is required for an                 (ii) describe the uature of the withheld cfocuments, commmnications, or
 order compellin; production or inspection.                                          tangible things in a manner that, without revealing infonnation itself
        (li) These aets may be required onlv as directed in the order, anif the      privilegett or protected, will enable tlie parties to assess tlte claim.
 order must protect a person who is neither a party nor a party's officer from         (B) Itrfar•mation Prodnced. 1Pinformation produced in response to a
 sigrtificant expense resulting liom conipliauce.                                    subpoena is subject to a claim of privilege or of protection as
                                                                                     trial-preparation material, the person makin, the claim mav notify any party
  (3) Ouashing or iYlorlifyittg a Subpoena.                                          that received the information of the claint atid the basis for it. ABer being
                                                                                     noti6ed, a party must protnptly return, sequester, or destroy the specifred
   (A) bt'hen Requir•ed. On timely motion, the court for tlre district where         information and any copies it has; must ttot use or disclose the inforniation
 conipliance is required must quash or niodify a subpoena that:                      mitil tlie claim is resolved; must take reasonable steps to retrieve the
                                                                                     information if the party disclosed it before beiug notified; and may promptly
      (i) fails to allow a reasonable time to complv;                                present the information under seal to the court for the district where
      (ii) requires a person to comply bevond the geographical limits                couipliance is required for a deterntination of the claint. 'Ilte person who
 specified in Rule 45(c);                                                            produced the infonnation must preserve the information until the claim is
      (iii) requires disclosure of privileged or other protected matter, if no       resolved.
 exception or waiver applies; or
      (iv) subjects a persou to undue burden.                                        (g) Contempt.
   (B) Wlren Permitted. To protect a pe.rson subject to or affectecf by a            The court for the district where wuipliance is required—and also, afler a
 subpoena, the court for the district where compliance is required may, on           motion is transferred, the issuiug court—may hold in conteinpt a person
 rnotiou, quash or modify the siibpoena if it requires:           "                  who, having been served, fails without adequate excuse to obey the
                                                                                     subpoena or an order related to it.


                                           For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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              IV Black or color ink                             Centered in white space                                               2. Endorse the back
              ~ Basic white paper                               Parallel to edge of the page                                          3. Deposit like normal:
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              Does your financial institution have questions about this check?
                   ••This check was printed from an authorized check-record. It is not a Check 21 Image Replacement Document.
                   • To confirm this check was issued by the account holder and details (pay to, amount, routing/account number) remain
                        unmodified, the item's authenticity can be verified using the Deluxe Inc. Check Verification service at https://echecks.com/verify.


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    Delivery email: None
    Memo: Apple/Latham
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                                       ATTACHMENT A
                         TO SUBPOENA FOR TESTIMONY AT A DEPOSITION

                                                  DEFINITIONS

              The terms herein shall be given the broadest meaning allowed under the Federal Rules of

      Civil Procedure and the Local Rules. Additionally, as used herein, the terms set forth below

      shall have the following meanings:

              l. "Plaintif..f' means Apple Inc.

              2. "Corellium" and "Defendant" means Corellium, LLC and any of its predecessors,

      successors, divisions, direct or indirect subsidiaries, parent entities, or other affiliated corporate

      entities, including any agents or Person acting on their belialf or under their control.

              3. "You" and "Your" nieans L3Harris Technologies, Inc., and any of its predecessors,

      successors, divisions, direct or indirect subsidiaries, parent entities, or other affiliated corporate

      entities, including anv agents or Person acting on their behalf or under their control, and

      specitically includes Azimuth Security Pty Ltd, Azimutli Security Trust, atid Azimuth Security,

      LLC.

              4. This "Action" means the present lawsuit, Apple Iric. v. Corelliuna, LLC, No. 9:19-cv-

      811.60-RS, pending in the United States District Court for the Southern District of Plorida.

              5. The term "iOS" or "iOS operating system" means Apple's iOS mobile operating

      system and other Apple operating systems, including iPadO STM. macOSO, watchOS©, and

      tvOSC.~ operating systems. Unless otherwise specified, this term includes any and all versions of

      iOS, separately or inclusively.

              6. The term "iOS Dzvice" means any Apple device or hardware that runs any version of

      iOS, including but not limited to the iPhoneg, Macqk, iPadg, Apple Watchg, AirPodsg,

      AppleTV(1, HomePodT`'t, and iPod Touchg.
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                7. "Virtual Device" means software that mimics the physical hardware, functionality,

        and/or look and feel of an iOS Device.

               8. "Corellium Apple Product'° means all products developed, produced, or sold by

        Corellium that can enable creatiori of at least one Virtual Device. Unless otherwise specified,

        this term includes any and all versions of such products, separately or inclusively.

               9. "Person" shall mean any natural persoti or any legal entity, including, witliout

        limitation, any business or governmental entity or association.

                10. "Communieation(s)" or "Communicated" means all written, oral, telephonic, or other

        utterances of any nature whatsoever, shared, sliown, and/or transferred between and/or among

        any Person(s), including, but not limited to, any statements, inquiries, discussions, conversations,

        dialogues, correspondence, consultations, negotiations, agreements, understandings, meetings,

        letters, emails, text messages, voice messages, faaes, notations, telegrams, advertisenients,

        interviews, conferences, presentation, and all other pocument(s).

                11. "Date'° means the eYact day, niontli and year, if ascertainable, or the best available

        approYimation, including any relationship to other known events (designate whether exact or

        approximate).

   -°           12. Electronically Stored Information," abbreviated as "ESI" has the same meaning and

        scope as it has in the Federal Rules of Civil Procedure.

                B. "Document" nieans all documents. ESI, and tangible things in the broadest sense

        under Federal Rules of Civil Procedure 45 and Federal Rules of Evidence 1001, and means

        anything that can be read, viewed, heard, or otherwise understood. Subject to and in accordance

        witli the Instructions infi•u, "Document" shall not be limited in any way with respect to medium,

        embodiment, or process of creation, generation, or reproduction; "Document" shall include,




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        without limitation, all preliminary, intermediate, and fnal versions thereof, as well as any

        notations, comment, and marginalia (handwritten or otherwise) appearing thereon or therein;

       "Document" shall include originals (or high quality duplicates), all non-identical copies or drafts,

        and all attachments, exhibits, or similar items. Any Document bearing on any sheet or side

        thereof, any marks, including, without liniitation, initials, notations, comments, or marginalia of

        any character which are not part of the original test or reproduction thereof, sliall be considered a

       separate Document.

               14. "ldentify" means that the following information shall be provided:

                       a.     When used in reference to a Document, state the (i) type of Document; (ii)

                             general subject matter; (iii) Date of the Document; (iv) authors(s),

                             addressee(s) and recipient(s); and (v) any applicable Bates number(s).

                       b. When used in reference to a product, state: (i) the product's eYternal and

                             internal product names and numbers; (ii) the date range the product was

                             developed; and (iii) the date range the product was available for sale or

                             license.

                       c. When used in reference to any natural person, state: (i) the person's ftill name;

   -   1-
               -
                         .
                              ii) last known home address; (iii) last lcnown business address and telephone
                             -(




                             number; (iv) last known title or occupation; (v) last known employer; and (vi)

                             if applicable, his or her connection to the subject matter of the request.

                       d. When used in reference to any legal entity, such as a corporation, company, or

                             person otlier than a natural person, state: (i) the entity's name; (ii) the place of

                             incorporation or organization; (iii) the last known address and phone number

                             for its principal place of business; (iv) the type of entity (e.g., corporation,
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                          partnership, trust); (v) the entity's registered agent; and (vi) the nature of the

                          business conducted by the entity.

                      e. When used in reference to any Communication, state: (i) its date and place;

                          (ii) the Person(s) who participated in it, were present during any part of it, or

                          have knowledge about it; (iii) its form (e.g., telephone conversation, text

                          message, email) and (iv) its content and substance.

              15. "Relating to," "related to," "refen•ing to," "regarding," or "with respect to," when

      referring to-any given subject matter, means without limitation any infornzation or pocument that

      in whole or in part and directly or indirectly relates to, concerns, regards, discusses, describes,

      depicts, demonstrates, shows, evidences, supports, refutes, contradicts, summarizes, analyzes,

      assesses, bears upon, comments upon, pertains to, constitutes, comprises, involves, contains,

      embodies, reflects, alludes to, identifies, states, mentions, refers to, deals with, or is any way

      relevant to the particular subject niatter identified.

              16. "All" should be construed to include the collective as well as the singular and shall

      mean "each," "any," and "every."

              17. The connectives "and" and "or" shall be construed either disjunctively or

    -- iconjunctively, as necessary, to bring within the scope of the Request all responses that might

      otherwise be construed to be outside the scope.

              18. "Any" shall be construed to niean "any and all."

              19. "Including" shall be construed to mean "including without limitation." "Including" is

      used to empliasize certain examples and should not be construed as limiting the Interrogatory in

      any way.

              20. The use of the singular terin of any word incltides the plural and vice versa.




                                                         4
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              21. The past tense includes the present tense, and vice versa, when the clear meaning is

      not distorted by clianbing tlie tense.


                                               LIST OF TOPICS

          l. Corellium and the Corellium Apple Product.

          2. Your use of the Corellium Apple Product.

         3. Your sale or resale of the Corellium Apple Product to third parties.

          4. Your knowledge of and communications with Christoplier Wade.

          5. Any agreement to whiclh You are a part that relates to the Corellium Apple Product or

              any of its technology.

          6. Any agreement to which You are a part that relates to reselling or otherwise providing

              access to any feature, technology, component, or part of Corellium's products.

          7. The identity and role of Your employees who use the Corellium Apple Product in the

              course of their employinent.




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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO. 9:19-ev-81160-RS

        APPLE INC.,
                                                                          FILED BY                         D.C.
               PIaintiff,
        V.                                                                        DEC 13 2019
        CORELLIUM, LLC,                                                           ANGELA E. NOBLE
                                                                                 CLERI: U.S. DIST. CT.
                                                                                 S. U. OF FLA. - W.f? B.
               Defendant.




                            AGREED PROTECTIVE ORDER
             REGARDING THE DISCLOSURE AND USE OF DISCOVERY MATERIALS

              Plaintiff Apple Inc. ("Plaintiff' or "Apple") and Defendant Corellium, LLC ("Defendant"

       or "Corellium") anticipate that documents, testimony, or information containing or reflecting

       confidential, proprietary, trade secret, and/or commercially sensitive information are likely to

       be disclosed or produced during the course of discovery, initial disclosures, and supplemental

       disclosures in this case and request that the Court enter this Order setting forth the conditions

       for treating, obtaining, and using such information.

              Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Court finds good

       cause for the following Agreed Protective Order Regarding the Disclosure and Use of

       Discovery Materials ("Order" or "Protective Order").

              1.      PURPOSES AND LIlVIITATIONS

                      (a)     Protected Material designated under the terms of this Protective Order shall

      -be used by a Receiving Party solely for this case and shall not be used directly or indirectly for any

       other purpose whatsoever, including any commercial purpose.




       AGREED PROTECTIVE ORDER- PAGE 1
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                      (b)     The Parties acknowledge that this Order does not confer blanket protections

       on all disclosures during discovery, or in the course of making initial or supplemental disclosures

       under Rule Z6(a). Designations under this Order shall be made with care and shall not be made

       absent a good faith belief that the designated material satisfies the criteria set forth below. If it

       comes to a Producing Party's attention that designated material does not qualify for protection at

       all, or does not qualify for the level of protection initially asserted, the Producing Party must

       promptly notify all other Parties that it is withdrawing or changing the designation.

              2.      DEFINITIONS

                      (a)     "Discovery Material" means all items or information, including from any

       non-party, regardless of the medium or manner generated, stored, or maintained (including, among

       other things, testimony, transcripts, or tangible things) that are produced, disclosed, or generated

       in connection with discovery or Rule 26(a) disclosures in this case.

                      (b)     "Outside Counsel" means (i) outside counsel who appear on the pleadings

       as counsel for a Party and (ii) partners, associates, and staff of such counsel to whom it is

       reasonably necessary to disclose the information for this litigation.

                      (c)     "Party" means any party to this case, including all of its officers, directors,

       employees, consultants, retained experts, and outside counsel and their support staffs.

                      (d)     "Producing Party" means any Party or non-party that discloses or produces

       any Discovery Material in this case.

                      (e)     "Protected Material" means any Discovery Material that is designated as

       "CONFIDENTIAL," "CONFIDENTIAL - ATTORNEYS' EYES ONLY," or "CONFIDENTIAL

       - OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE," as provided for in this Order.

       Protected Material shall not include: (i) advertising materials that have been actually published or


       AGREED PROTECTIVE ORDER-PAGE 2
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       publicly disseminated; and (ii) materials that show on their face they have been disseminated to

       the public.

                      (f)     "Receiving Party" means any Party who receives Discovery Material from

       a Producing Party.

                      (g)     "Source Code" means computer code, scripts, assembly, binaries, object

       code, source code listings and descriptions of source code, object code listings and descriptions of

       object code, Hardware Description Language (HDL) or Register Transfer Level (RTL) files that

       describe the hardware design of any ASIC or other chip, and Computer Aided Design (CAb) files

       that describe the hardware design of any component.

              3.      COMPUTATION OF TIME

                      The computation of any period of time prescribed or allowed by this Order shall be

       governed by the provisions for computing time set forth in RuIe 6 of the Federal Rules of Civil

       Procedure.

              4.      SCOPE

                      (a)     The protections conferred by this Order cover not only Discovery Material

       governed by this Order as addressed herein, but also any information. copied or extracted

       therefrom, as well as all copies, excerpts, summaries, or compilations thereof, plus testimony,

       conversations, or presentations by Parties or their counsel in court or in other settings that might

       reveal Protected Material.

                      (b)     Nothing in this Protective Order shall prevent or restrict a Producing Party's

       own disclosure or use of its own Protected Material for any purpose, and nothing in this Order

       shall preclude any Producing Party from showing its Protected Material to an individual who

       prepared the Protected Material.


       AGREED PROTECTIVE ORDER - PAGE 3
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                       (c)    Nothing in this Order shall be construed to prejudice any Party's right to

       use any Protected Material in court or in any court filing with the consent of the Producing Party

       or by order ofthe Court.

                       (d)    This Order is without prejudice to the right of any Party to seek further or

       additional protection of any Discovery Material or to modify this Order in any way, including,

       without limitation, an order that certain matter not be produced at all.

                  5.   DURATION

                       Even after the termination of this case, the confidentiality obligations imposed by

       this Order shall remain in effect until a Producing Party agrees otherwise in writing or a court order

       otherwise directs.

                  6.   ACCESS TO AND USE OF PROTECTED MATERIAL

                       (a)     Basic Principles. All Protected Material shall be used solely for this case

       or any related appellate proceeding, and not for any other purpose whatsoever, including without

       limitation any other litigation, patent prosecution or acquisition, patent reexamination or reissue

       proceedings, or any business or competitive purpose or function. Protected Material shall not be

       distributed, disclosed, or made available to anyone except as expressly provided in this Order.

                       (b)    Secure Storaae, No Export. Protected Material must be stored and

       maintained by a Receiving Party at a location in the United States and in a secure manner that

       ensures that access is .limited to the persons authorized under this Order. To ensure compliance

       with applicable United States Export Administration Regulations, Protected Material may not be

       expot-ted outside the Uiiited States or released to-any foreign national (even if within the United

       States).




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                      (c)     Legal Advice Based on Protected Material. Nothing in this Protective Order

       shall be construed to prevent counsel from advising their clients with respect to this case based in

       whole or in part upon Protected Materials, provided counsel does not disclose the Protected

       Material itself except as provided in this Order.

                      (d)     Limitations. Nothing in this Order shall restrict in any way a Producing

       Party's use or disclosure of its own Protected Material. Nothing in this Order shall restrict in any

       way the use or disclosure of Discovery Material by a Receiving Party: (i) that is or has become

       publicly known through no fault of the Receiving Party; (ii) that is lawfully acquired by or known

       to the Receiving Party independent of the Producing Party; (iii) previously produced, disclosed

       and/or provided by the Producing Party to the Receiving Party or a non-party without an

       obligation of confidentiality and not by inadvertence or mistake; (iv) with the consent of the

       Producing Party; or (v) pursuant to order of the Court.

              7.      DESIGNATING PROTECTED MATERIAL

                      (a)     Available Designations. Any Producing Party may designate Discovery

       Material with any of the following designations, provided that it meets the requirements for such

       designations as provided for herein: "CONFIDENTIAL," "CONFIDENTIAL - ATTORNEYS'

       EYES ONLY," or "CONFIDENTIAL — OUTSIDE ATTORNEYS' EYES ONLY - SOURCE

       CODE."

                      (b)     Written Discovery -and Documents and Tangible Things. Written

       discovery, documents (whicli include "electronically.stored information," as that phrase is used in

       Federal Rule of Procedure 34), and tangible things that meet the requirements for the

       confidentiality designations listed in Paragraph 7(a) may be so designated by placing the

       appropriate designation on every page of the written material prior to production. For digital files


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       being produced, the Producing Party may mark each viewable page or image with the appropriate

       designation, and mark the medium, container, and/or communication in which the digital files were

       contained. In the event that original documents are produced for inspection, the original

       documents shall be presumed "CONFIDENTIAL — ATTORNEYS' EYES ONLY" during the

       inspection and re-designated, as appropriate, during the copying process.

                       (c)     Native Files. Where electronic files and documents are produced in native

       electronic format, such electronic files and documents shall be designated for protection under this

       Order by appending to the file names or designators infonnation indicating whether the file

       contains "CONFIDENTIAL," "CONFIDENTIAL - ATTORNEYS' EYES ONLY," or

       "CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE," material, or

       shalI use any other reasonable method for so designating Protected Materials produced in

       electronic format: When electronic files or documents are printed for use at deposition, in a court

       proceeding, or for provision in printed form to an expert or consultant pre-approved pursuant to

       paragraph 12, the party printing the electronic files or documents shall affix a legend to the printed

       document corresponding to the designation of the Designating Party and including the production

       number and designation associated with the native file. No one shaIl seek to use in this litigation

       a.tiff, .pdf or other image.format version of a document produced in native file format without

       first (1) providing a copy of the image format version to the Producing Party so that the Producing

       Party can review the image to ensure that no information has been altered, and (2) obtaining the

       consent of the Producing Party, which consent shall not be unreasonably withheld.

                       (d)     Depositions and Testimony. Parties or testifying persons or entities may

       designate depositions and other testimony with the. appropriate designation by indicating on the

       record at the time the testimony is given or by sending written notice of how portions of the transcript


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        of the testimony is designated within thirty (30) days of receipt of the transcript of the testimony.

        If no indication on the record is rnade, alI information disclosed during a deposition shall be

        deemed "CONFIDENTIAL — ATTORNEYS' EYES ONLY" until the time within which it may

        be appropriately designated as provided for herein has passed. Any Party that wishes to disclose

       the transcript, or information contained therein, may provide written notice of its intent to treat the

       transcript as non-confidential, after which time, any Party that wants to inaintain any portion of

       the transcript as confidential must designate the confidential portions within fourteen (14) days, or

        else the transcript may be treated as non-confidential. Any Protected Material that is used in the

       taking of a deposition shall remain subject to the provisions of this Protective Order, along with the

       transcript pages of the deposition testimony dealing with such Protected Material. In such cases

       the court reporter shall be informed of this Protective Order and shall be required to operate in a

        manner consistent with this Protective Order. In the event the deposition is videotaped, the original

       and all copies of the videotape shall be marked by the video technician to indicate that the contents

       of the videotape are subject to this Protective Order, substantially along the lines of "This videotape

       contains confidential testimony used in this case and is not to be viewed or the contents thereof

       to be displayed or revealed except pursuant to the terms of the operative Protective Order in

       this matter or pursuant to written stipulation of the parties." Counsel for any Producing Party

       shaIl have the riglit to exclude from oral depositions, other than the deponent, deponent's

        counseI, the reporter and videographer (if any), any person who is not authorized by this

        Protective Order to receive or access Protected Material based on the designation of such

        Protected Material. Such right of exclusion shalI be applicable only during periods of

        examination or testimony regarding such Protected Material.

                8.     DISCOVERY MATERIAL DESIGNATED AS "CONFIDENTIAL"


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                      (a)     A Producing Party may designate Discovery Material as

       "CONFIDENTIAL" if it contains or reflects confidential, proprietary, and/or, commercially

       sensitive information.

                      (b)     Unless otherwise ordered by the Court, Discovery Material designated as

       "CONFIDENTIAL" may be disclosed only to the following:

                              (i)     The Receiving Party's Outside Counsel, such counsel's immediate

       paralegals and staff, and any copying or clerical litigation support services working at the direction

       of such counsel, paralegals, and staff;

                              (ii)    Not more than three (3) representatives of the Receiving Party who

       are officers or employees of the Receiving Party, who may be, but need not be, in-house counsel

       for the Receiving Party, as we11 as their immediate paralegals and staff, to whom disclosure is

       reasonably necessary for this case, provided that: (a) each such person has agreed to be bound by

       the provisions of the Protective Order by signing a copy of Exhibit A; and (b) no unresolved

       objections to such disclosure exist after proper notice has been given to all Parties as set forth

       in Paragraph 12 below;

                              (iii)   Any outside expert or consultant retained by the Receiving Party to

       assist in this action, provided that disclosure is only to the extent necessary to perform such work;

       and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

       Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current

       officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

       of retention to become an officer, director or employee of a Party or of a competitor of a-Party; (c)

       such expert or consultant accesses the materials in the United States only, and does not transport




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       them to or access them from any foreign jurisdiction; and (d) no unresolved objections to such

       disclosure exist after proper notice has been giveri to all Parties as set forth in Paragraph 12 below.

                                (iv)    Court reporters, stenographers and videographers retained to record

       testimony taken in this action;

                                (v)     The Court, jury, and court personnel;

                                (vi)    Graphics, translation, design, and/or trial consulting personnel,

       having first agreed to be bound by the provisions of the Protective Order by signing a copy of

       Exhibit A;

                                (vii)   Mock jurors who have signed an undertaking or agreement agreeing

       not to publicly disclose Protected Material and to keep any information concerning Protected

       Material confidential;

                                (viii) Any mediator who is assigned to hear this matter, and his or her

       staff, subject to their agreement to maintain confidentiality to the same degree as required by this

       Protective Order; and

                                (ix)    Any other person with the prior written consent of the Producing

       Party.

                9. - DISCOVERY MATERUL DESIGNATED                               AS "CONFIDENTIAL —
                      ATTORNEYS' EYES ONLY"

                      (a) A Producing Party may designate Discovery Material as

       "CONFIDENTIAL — ATTORN.EYS' EYES ONLY" if it contains or reflects information that is

       extremely conf dential and/or sensitive in nature and the Producing Party reasonably believes that

       the disclosure of such Discovery Material is likely to cause economic harm or significant

       competitive d isadvantage to the Producing Party. The Parties agree that the following information,

       if non-public, shall be presumed to merit the "CONFIDENTIAL — ATTORNEYS' EYES ONLY"
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       designation: trade secrets, pricing information, financial data, sales information, sales or

       marketing forecasts or plans, business plans, sales or marketing strategy, product development

       information, engineering documents, testing documents, employee information, and other non-

       public information of similar competitive and business sensitivity.

                      (b)     Unless otherwise ordered by the Court, Discovery Material designated as

       "CONFIDENTIAL — ATTORNEYS' EYES ONLY" may be disclosed only to:

                              (i)     The Receiving Party'.s Outside Counsel, provided that such Outside

       Counsel is not involved in competitive decision-making, as defined by U.S. Steel v. Unfted States,

       730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and such

       Outside Counsel's immediate paralegals and staff, and any copying or clerical litigation support

       services working at the direction of such counsel, paralegals, and staff;

                              (ii)    Any outside expert or consultant retained by the Receiving Party to

       assist in this action, provided that disclosure is only to the extent necessary to perform such work;

       and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

       Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current

       officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

       of retention to become an officer, director, or employee of a Party or of a competitor of a Party;

       (c) such expert or consultant is not invol.ved in competitive decision-making, as defined by U.S.

       Steel v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a

       competitor of a Party; (d) such expert or consultant accesses the materials in the United States

       only, and does not transport them to or access them from any foreign jurisdiction; and (e) no

       unresolved objections to such disclostire exist after proper notice has been given to all Parties as

       set forth in Paragraph 12 below;


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                               (iii)   Court reporters, stenographers and videographers retained to record

       testimony taken in this action; .

                               (iv)    Ttre Court, jury, and court personneI;

                               (v)     Graphics, translation, design, and/or trial consulting personnel,

       having first agreed to be bound by the provisions of the Protective Order by signing a copy of

       Exhibit A; -

                               (vi)    Any mediator who is assigned to hear this matter, and his or her

       staff, subject to their agreement to maintain confidentiality to the same degree as required by this

       Protective Order; and

                               (vii)   Any other person with the prior written consent of the Producing

       Party.

                10. DISCOVERY MATERIAL DESIGNATED AS "CONFIDENTIAL                                       —
                      OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE"

                      (a)      To the extent production of Source Code becomes necessary to the

       prosecution or defense of the case, a Producing Party may designate Source Code as

       "CONFIDENTI.4L—OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE" if it comprises

       or 'includes confidential, proprietary, and/or trade secret Source Code.

                      (b)      Nothing in this Order shall be construed as a representation or admission

       that Source Code is properly discoverable in this action, or to obligate any Party to produce any

       Source Code.

                      (e)      Unless otherwise ordered by the Court, Discovery Material designated as

       "CONFIDENTIAL — OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE" shall be

       subject to the provisions set forth in Paragraph 11 below, and may be disclosed, subject to

       Paragraph 11 below, solely to:

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                               (i)     The Receiving Party's Outside Counsel, provided that such Outside

       Counsel is not involved in competitive decision-making, as defined by U.S. Steel v. United States,

       730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and

       such Outside Counsel's immediate paralegals and staff, and any copying or clerical litigation

       support services working at the direction of such counsel, paralegals, and staff;

                               (ii)    Any outside expert or consultant retained by the Receiving Party to

       assist in this action, provided that disclosure is only to the extent necessary to perform such work;

       and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

       Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current

       officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

       of retention to become an officer, director or employee of a Party or of a competitor of a Party; (c)

       such expert or consultant is not involved in competitive decision-making, as defined by U.S. Steel

       v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of

       a Party; and (d) no unresolved objections to such disclosure exist after proper notice has been given

       to all Parties as set forth in Paragraph 12 below;

                               (iii)   Court reporters, stenographers and videographers retained to record

       testimony taken in this action;

                               (iv)    The Court, jury, and court personnel;

                               (v)     Any mediator who is assigned to hear this matter, and his or her

       staff, subject to their agreement to maintain confidentiality to the same degree as required by this

       Protective Order; and

                               (vi)    Any other person with the prior written consent of the Producing

       Party.


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                11.   DISCLOSURE AND REVIEW OF SOURCE CODE

                      (a)     Any Source Code that is produced by Apple shall be made available for

       inspection in electronic format at the Washington, D.C. office of its outside counsel, Latham &

       Watkins LLP, or any other location reasonably designated by Apple. Any Source Code that is

       produced by Corellium will be made available for inspection at the West Palm Beach, Florida

       office of its outside counsel, Cole, Scott & Kissane, P.A., or any other location reasonably

       designated by Corellium. Source Code will be made available for inspection between the hours

       of 9 a.m. and 5 p.m. on business days (i.e., weekdays that are not Federal holidays), although the

       Parties will be reasonable in accommodating reasonable requests to conduct inspections at other

       times.

                      (b)     Prior to the first inspection of any requested Source Code, the Receiving

       Party shall provide thirty (30) days notice. The Receiving Party shall provide seven (7) days notice

       prior to any additional inspections.

                      (c)     Source Code that is designated "CONFTDENTIAL — OUTSIDE

       ATTORNEYS' EYES ONLY - SOURCE CODE" shall be produced for inspection and review

       subject to the following provisions, unless otherwise agreed by the Producing Party:

                              (i)     All Source Code shall be made available by the Producing Party to

       the Receiving Party's outside counsel and/or experts in a secure room on a. secured computer

       without Internet access or network access to other computers and on which all access ports have

       been disabled (except for one printer port), as necessary and appropriate to prevent and protect

       against any unauthorized copying, transmission, removal or other transfer of any Source Code

       outside or away from the computer on which the Source Code is provided for inspection (the

       "Source Code Computer" in the "Source Code Review Room"). The Producing Party shall install


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       tools that are sufficient for viewing and searching the code produced, on the platform produced, if

       such tools exist and are presently used in the ordinary course of the Producing Party's business.

       The Receiving Party's outside counsel and/or experts may request that commercially available

       software tools for viewing and searching Source Code be installed on the secured computer,

       provided, however, that (a) the Receiving Party possesses an appropriate license to such software

       tools; (b) the Producing Party approves such software tools; and (c) such other software tools are

       reasonably necessary for the Receiving Party to perform its review of the Source Code consistent

       with all of the protections herein. The Receiving Party must provide the Producing Party with the

       CD or DVD containing such licensed software tool(s) at least twenty-one (21) days in advance of

       the date upon which the Receiving Party wishes to have the additional software tools available for

       use on the Source Code Computer.

                              (ii)    No recordable media or recordable devices, including without

       limitation sound recorders, computers, cellular telephones, peripheral equipment, cameras, CDs,

       DVDs, or drives of any kind, shall be permitted into the Source Code Review Room.

                              (iii)   In addition to the Source Code Computer, the Producing Party shall

       make available a Notetaking Computer for purposes of enabling the Receiving Party's outside

       courisel and/or experts to take notes relating to the Source Code. The Receiving Party's outside

       counsel and/or experts may not copy the Source Code into the notes. The Producing Party shall

       make available a laser printer with commercially reasonable printing speeds for on-site printing of

       notes taken on the Notetaking Computer.

                              (iv)    The Producing Party may visually monitor the activities of the

       Receiving Pai-ty's representatives during any Source Code review, but only to ensure that no




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       unauthorized electronic records of the Source Code and no information concerning the Source

       Code are being created or transmitted in any way.

                              (v)     No copies of aIl or any portion of the Source Code may leave the

       room in which the Source Code is inspected except as otherwise provided herein. Further, no

       other written or electronic record of the Source Code is permitted except as otherwise provided

       herein. The Producing Party shall make available a laser printer with commerciaily reasonable

       printing speeds for on-site printing during inspection of the Source Code, The Receiving Party

       may print limited portions of the Source Code only when necessary to prepare court filings or

       pleadings or other papers (including a testi.fying expert's expert report). The Receiving Party may

       print no more than ten (10) pages of a continuous block of Source Code. The Receiving Party may

       print out no more than 100 pages total. Any printed portion exceeding the continuous or total page

       limits shall be presumed to be excessive, and the burden shall be on the Receiving Party to

       demonstrate the need for additional printed pages of Source Code. The limits on continuous and

       totaI pages of printed Source Code may be increased only: (i) by agreement of the Parties or (ii)

       on a showing of good cause and subsequent order from the Court. The Receiving Party shall not

       print Source Code in order to review blocks of Source Code elsewhere in the first instance, i.e., as

       an alternative to reviewing that Source Code electronically on the Source Code Computer, as the

       Parties acknowledge and agree that the purpose of the protections herein would be frustrated by

       printing portions of code for review and analysis elsewhere, and that printing is permitted only

       when necessary to prepare court filings or pleadings or other papers (including a testifying expert's

       expert report). Upon printing any such portions of Source Code, the printed pages shall be

       collected by the Producing Party. The Producing Party shall Bates number, copy, and label

       "CONFIDENTIAL — OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE" any pages


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       printed by the Receiving Party. Within seven (7) days, the Producing Party shall either (i) provide

       one copy set of such pages to the Receiving Party or (ii) inform the Requesting Party that it objects

       that the printed portions are excessive and/or not done for a permitted purpose. If, after meeting

       and conferring, the Producing Party and the Receiving Party cannot resolve the objection, the

       Receiving Party shall be entitled to seek a Court resolution of whether the printed Source Code in

       question is narrowly tailored and was printed for a pennitted pui-pose. The burden shall be on the

       Receiving Party to demonstrate that such printed portions are no more than is reasonably necessary

       for a permitted purpose and not merely printed for the purposes of review and analysis elsewhere.

       The printed pages shall constitute part of the Source Code produced by the Producing Party in this

       action.

                              (vi)    AlI persons who will review a Producing Party's Source Code on

       behalf of a Receiving Party, including members of a Receiving Party's outside Iaw firm, shall be

       identified in writing to the Producing Party at least five (5) days in advance of the first time that

       such person reviews such Source Code. Such identification shaIl be in addition to any other

       disclosure required under this Order. All persons viewing Source Code shall sign on each day they

       view Source Code a log that will include the names of persons who enter the Source Code Review

       Room to view the Source Code and when they enter and depart. The Receiving Party shall provide

       and maintain the log in the Source Code Review Room, and the Receiving Party shall leave the

       completed iog in the Source Code Review Room. The Receiving Party shall be entitled to a copy

       of the log upon five (5) days advance notice to the Producing Party.

                              (vii)   Unless otherwise agreed in advance by the Parties in writing,

       following each day on which inspection is done under this Order, the Receiving Party's outside

       counsel and/or experts shall remove all notes, documents, and all other materials from the Source


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       Code Review Robm. The Producing Party shall not be responsible for any items left in the room

       following each inspection session, and the Receiving Party shall have no expectation of

       confidentiality for any items left in the room following each inspection session without a prior

       agreement to that effect. Proper identification of all authorized persons shall be provided prior

       to any access to the secure room or the computer containing Source Code. Proper identification

       requires showing, at a minimum, a photo identification card sanctioned by the government of any

       State of the United States, by the government of the United States, or by the nation state of the

       authorized person's current citizenship. Access to the secure room or the Source Code Computer

       may be denied, at the discretion of the supplier, to any individual who fails to provide proper

       identification.

                              (viii)   Other than as provided above, the Receiving Party will not copy,

       remove, or otherwise transfer any Source Code from the Source Code Computer including, without

       Iimitation, copying, removing, or transferring the Source Code onto any recordable media or

       recordable device. The Receiving Party will not transmit any Source Code in any way from the

       Producing Party's facilities or the offices of its outside counsel of record.

                              (ix)     The Receiving Party's outside counsel of record may make no more

       than three (3) additional paper copies of any portions of the Source Code received from a

       Producing Party pursuant to Paragraph 11(c)(v), not including copies attached to court filings or

       used at depositions, and shall maintain a log of all paper copies of the Source Code. The log shall

       include the names of the reviewers and/or recipients of paper copies and locations where the paper

       copies are stored. Upon one (1) day's advance notice to the Receiving Party by the Producing

       Party, the Receiving Party shall provide a copy of this log to the Producing Party.




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                              (x)     The Receiving Party's outside counsel of record and any person

        receiving a copy of any Source Code shall maintain and store any paper copies of the Source Code

       at their offices in a manner that prevents duplication of or unauthorized access to the Source Code,

        including, without limitation, storing the Source Code in a locked room or cabinet at all times

       when it is not in use. No more than a total of ten (10) individuals identifted by the Receiving Party

       shall have access to the printed portions of Source Code (except insofar as such code appears in

       any court filing or expert report).

                              (xi)    For depositions, the Receiving Party shall not bring copies of any

       printed Source Code. Rather, at least ten (10) days before the date of the deposition, the Receiving

       Party shalI notify the Producing Party about the specific portions of Source Code it wishes to use at

       the deposition, and the Producing Party shall bring printed copies of those portions to the deposition

       for use by the Receiving Party. Copies of Source Code that are marked as deposition exhibits shall

       not be provided to the Court Reporter or attached to deposition transcripts; rather, the deposition

       record will identify the exhibit by its production numbers. All paper copies of Source Code

       brought to the deposition shall remain with the Producing Counsel's outside counsel for secure

       destruction in a timely manner following the deposition.

   "                          (xii) Except as provided in this sub-paragraph, absent express written

       permission from the Producing Party, the Receiving Party may not create electronic images, or

       any other images, or make electronic copies, of the Source Code from any paper copy of Source

       Code for use in any manner (including by way of example only, the Receiving Party may not scan

       the Source-Code to a PDF or photograph the code). Images or copies of Source Code shaIl not be

       included in correspondence between the Parties (references to production numbers shall be used

       instead), and shall be omitted from pleadings and other papers whenever possible. If a Party


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       reasonably believes that it needs to submit a portion of Source Code as part of a filing with the

       Court, the Parties shall meet and confer as to how to make such a filing while protecting the

       corifidentiality of the Source Code and such Source Code will not be filed absent agreement from

       the Producing Party that the confidentiality protections will be adequate. If a Producing Party

       agrees to produce an electronic copy of all or any portion of its Source Code or provide written

       permission to the Receiving Party that an electronic or any other copy needs to be made for a Court

       filing, access to the Receiving Party's submission, communication, and/or disclosure of electronic

       f les or other materials containing any portion of Source Code (paper or electronic) shall at all

       times be limited solely to individuals who are expressly authorized to view Source Code under the

       provisions of this Order. Where the Producing Party has provided the express written permission

       required under this provision for a Receiving Party to create electronic copies of Source Code, the

       Receiving Party shall maintain a log of all such electronic copies of any portion of Source Code in

       its possession or in the possession of its retained consultants, including the names of the reviewers

       and/or recipients of any such electronic copies, and the locations and manner in which the

       electronic copies are stored. Additionally, any .such electronic copies must be labeled

       "CONFIDENTIAL - ATTORNEYS' EYES ONLY - SOURCE CODE" as provided for in this

       Order.

                12.    NOTICE OF DISCLOSURE

                       (a)     Prior to disclosing any Protected Material to any person described in

       Paragraphs 8(b)(ii), 8(b)(iii), 9(b)(ii), or 10(c)(ii) (referenced below as "Person"), the Party seeking

       to disclose.such information shall provide the Producing Party with written notice that includes:

                (i) the name of the Person;

                (ii) an up-to-date curriculum vitae of the Person;


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              (iii) the present employer and title of the Person;

              (iv) aii identification of all of the Person's past and current employment and consulting

                      relationships, including direct relationships and relationships through entities

                      owned or controlled by the Person, including but not limited to an identification of

                      any individual or entity with or for whom the person is employed or to whom the

                      person provides consulting services relating to the design, development, operation,

                      or patenting of virtualization, encryption or data protection, or system, application

                      or network security technologies, or relating to the acquisition of intellectual

                      property assets relating to virtualization, encryption or data protection, or system,

                      application or network security technologies;

              (v) an identification of all pending patent•applications on which the Person is named as an

                      inventor, in which the Person has any ownership interest, or as to which the Person

                      has had or anticipates in the future any involvement in advising on, consulting on,

                      preparing, prosecuting, drafting, editing, amending, or otherwise affecting the

                      scope of the claims; and

              (vi) a list of the cases in which the Person has testified at deposition or trial within the last

                      five (5) years.

       Further, the Party seeking to disclose Protected Material shall provide such other information

       regarding the Person's professional activities reasonably requested by the Producing Party for it to

       evaluate whether good cause exists to object to the disclosure of Protected Material to the outside

       expert or consultant. During the pendency of and the final resolution of this action, including aIl

       appeals, the Party seeking to disclose Protected Material shall irnmediately provide written notice

       of any change with respect to the Person's involvement in the design, development, operation or


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       patenting of virtualization, encryption or data protection, or system, application or network

       security technologies, or the acquisition of intellectual property assets relating to virtualization,

       encryption or data protection, or system, application or network security technologies.

                       (b)    Within seven (7) days of receipt of the disclosure of the Person, the

       Producing Party or Parties may object in writing to the Person for good cause. In the absence of

       an objection at the end of the seven (7) day period, the Person shall be deemed approved under

       this Protective Order. There shall be no disclosure of Protected Material to the Person prior to

       expiration of this seven (7) day period. If the Producing Party objects to disclosure to the Person

       within such seven (7) day period, the Parties shall meet and confer via telephone or in person

       within seven (7) days following the objection and attempt in good faith to resolve the dispute on

       an informal basis. If the dispute is not resolved, the Party objecting to the disclosure will have ten

       (10) days fi•om the date of the meet and confer to seek relief from the Court. If relief is not sought

       from the Court within that time, the objection shall be deemed withdrawn. If relief is sought,

       designated materials shall not be disclosed to the Person in question until the Court resolves the

       objection.

                        (c)   For purposes of this section, "good cause" shall include an objectively

       reasonable coricern that'the Person will, advertently or inadvertently, use or disclose Discovery

       Materials iri a way or ways that are inconsistent with the provisions contained in this Order.

                        (d)   Prior to receiving any Protected Material under this Order, the Person must

       execute a copy of the "Agreement to Be Bound by Protective Order" (Exhibit A hereto) and serve

       it on all Parties.

                        (e)   An initial failure to object to a Person under this Paragraph 12 shall not

       preclude the nonobjecting Party from later objecting to continued access by that Person for good


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       cause. If an objection is made, the Parties shall meet and confer via telephone or in person within

       seven (7) days following the objection and attempt in good faith to resolve the dispute informally.

       If the disputeis not resolved, the Party objecting to the disclosure will have seven (7) days from

       the date of the meet and confer to seek relief from the Court. The designated Person may continue

       to have access to information that was provided to such Person prior to the date of the objection.

       If a later objection is made, no further Protected Material shall be disclosed to the Person until the

       Court resoIves the matter or the Producing Party withdraws its objection. Notwithstanding the

       foregoing, if the Producing Party fails to move for a protective order within seven (7) business

       days after the meet and confer, further Protected Material may thereafter be provided to the Person.

               13., CHALLENGING DESIGNATIONS OF PROTECTED MATERIAL

                      (a)     A Party shall not be obligated to challenge the propriety of any designation

       of Discovery Material under this Order at the time the designation is made, and a failure to do so

       shall not preclude a subsequent challenge thereto.

                      (b)     Any challenge to a designation of Discovery Material under this Order shall

       be written, sha11 be served on outside counseI for the Producing Party, shall particularly identify

       the docum.ents or information that the Receiving Party contends should be differently designated,

       and shall state the grounds for the objection. Thereafter, further protection of such material shall

       be resolved in accordance with the following procedures:

                              (i)     The objecting Party shall have the burden of conferring either in

       person, in writing, or by telephone with the Producing Party claiming protection (as well as any

       other interested party) in a good faith effoi-t to resolve the dispute. The Producing Party shall have

       the burden of justifying the disputed designation;




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                              (ii)     Failing agreement, the Receiving Party may bring a motioii to the

       Court for a ruling that the Discovery Material in question is not entitled to the status and protection

       of the Producing Party's designation. The Parties' entry into this Order shall not preclude or

       prejudice either Party from arguing for or against any designation, establish any presumption that

       a particular designation is valid, or alter the burden of proof that would otherwise apply in a dispute

       over discovery or disclosure of information;

                              (iii)   Notwithstanding any challenge to a designation, the Discovery

       Material in question shall continue to be treated as designated under this Order until one of the

       following occurs: (a) the Party who designated the Discovery Material in question withdraws

       such designation in writing; or (b) the Court rules that the Discovery Material in question is

       not entitled to the designation.

             .14. - SUBPOENAS OR COURT ORDERS

                       If at any time Protected Material is subpoenaed by any court, arbitral,

       administrative, or legislative body, the Party to whom the subpoena or other request is directed

       shall immediately give prompt written notice thereof to every Party who has produced such

       Discovery Material and to its counsel and shall provide each such Party with an opportunity to

       move for a protective order regarding the production of Protected Materials implicated by the

       subpoena.

               15.     FILING PROTECTED MATERIAL

                      (a)     Absent written permission from the Producing Party or a court Order

       secured after appropriate notice to all interested persons, a Receiving Party may not file or disclose

       in the public record any Protected Material. .




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                      (b)     Any Party is authorized under Rule 5.4 of the Southern District of Florida

       Local Rules to file under seal with the Court any brief, document or materials that are designated

       as Protected Material under this Ordbr: -Hbwever, notliing in this section shall in any way limit or

       detract from this Order's requirements as to Source Code.

              16.     INADVERTENT DISCLOSURE OF PRIVILEGED MATERIAL

                      (a)     The inadvertent production by a Party of Discovery Material subject to the

       attorney-client privilege, work-product protection, or any other applicable privilege or protection,

       despite the Producing Party's reasonable efforts to prescreen such Discovery Material prior to

       production, will not waive the applicable privilege and/or protection if a request for return of such

       inadvertently produced Discovery Material is made promptly after the Producing Party learns of

       its inadvertent production.

                      (b)     Upon a request from any Producing Party who has inadvertently produced

       Discovery Material that it believes is privileged and/or protected, each Receiving Party shall

       immediately return such Protected Material or Discovery Material and all copies to the Producing

       Party, except for any pages containing privileged markings by the Receiving Party which shall

       instead be destroyed and certif►ed as such by-the Receiving Party to the Producing Party.

              17.     INADVERTENT FAILURE"TO DESIGNATE PROPERLY

                      (a)     The inadvertent failure by a Producing Party to designate Discovery

       Material as Protected Material with one of the designations provided for under this Order shall not

       waive any such designation provided that the Producing Party notif►es all Receiving Parties that

       such Discovery Material is protected under one of the categories of this Order within fourteen (14)

       days of the Producing Party learning of the inadvertent failure to designate. The Producing Party

       shall reproduce the Protected Material with the correct confidentiality designation within seven (7)


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        days upon its notification to the Receiving Parties. Upon receiving the Protected Material with the

        correct confidentiality designation, the Receiving Parties shall return or securely destroy, at the

       Producing Party's option, all Discovery Material that was not designated properly.

                       (b)     A Receiving Party shall not be in breach of this Order for any use of such

        Discovery Material before the Receiving Party receives such notice that such Discovery Material

        is protected under one of the categories of this Order, unless an objectively reasonable person

        would have realized that the Discovery Material should have been appropriately designated with

        a confidentiality designation under this Order. Once a Receiving Party has received notification

        of the correct confidentiality designation for the Protected Material with the correct confidentiality

        designation, the Receiving Party shall treat such Discovery Material (subject to the exception in

        Paragraph 17(c) below) at the appropriately designated level pursuant to the terms of this Order.

                       (c)     Notwithstanding the above, a subsequent designation of

       "CONFIDENTIAL," "CONFIDENTIAL — ATTORNEYS' EYES ONLY" or "CONFIDENTIAL

        — ATTORNEYS'EYES ONLY—SOURCE CODE" shall apply on a going forward basis and shall

        not disqualify anyone who reviewed "CONFIDENTIAL," "CONFIDENTIAL — ATTORNEYS'

        EYES ONLY" or "CONFIDENTIAL — ATTORNEYS' EYES ONLY — SOURCE CODE"

        materials while the materials 'were not marked "CONFIDENTIAL — ATTORNEYS' EYES

        ONLY" or "CONFIDENTIAL — ATTORNEYS' EYES ONLY — SOURCE CODE" from

        engaging in the activities set forth herein.

                18.     INADVERTENT DISCLOSURE NOT AUTHORIZED BY ORDER

                        (a)    In the event of a disclosure of any Discovery Material pursuant to this Order

        to any person or persons not authorized to receive such disclosure under this Protective Order, the

        Party responsible for having made such disclosure, and each Party with knowledge thereof, shall


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        immediately notify counsel for the Producing Party whose Discovery Material has been disclosed

       and provide to such counsel all known relevant information concerning the nature and

       circumstances of the disclosure. The responsible disclosing Party shall also promptly take all

       reasonable measures to retrieve the improperly disclosed Discovery Material and to ensure that no

       further or greater unauthorized disclosure and/or use thereof is made

                       (b)     Unauthorized or inadvertent disclosure does not change the status of

       Discovery Material or waive the right to hold the disclosed document or information as Protected.

               19.     FINAL DISPOSITION

                       (a)    Not later than ninety (90) days after the Final Disposition of this case, each

        Party shalI return all Discovery Material of a Producing Party to the respective outside counsel of

       the Producing Party or destroy such Material, at the option of the Producing Party. For purposes

       of this Order, "Final Disposition" occurs after an order, mandate, or dismissal finally terminating

       the above-captioned action with prejudice, including all appeals.

                       (b)     All Parties that have received any such Discovery Material shall certify in

       writing that all such materials have been returned to the respective outside counsel of the Producing

        Party or destroyed. Notwithstanding the provisions for return of Discovery Material, outside

        courisel may retain one set of pleadings, correspondence and attorney and consultant work product

        (but not document productions) for archival purposes, but must return any pleadings,

        correspondence, and consultant work product that contain Source Code.

               20.     DISCOVERY FROM EXPERTS OR CONSULTANTS

                       (a)     Absent good cause, drafts of reports of testifying experts, regardless of the

        form in which the draft is recorded, and reports, including drafts, of consulting experts, shall not

        be discoverable.


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                       (b)     Testifying experts shall not be subject to discovery with respect to any draft

       of his or her report(s) in this case. Draft reports, notes or outlines for the drafting reports developed

       and drafted by the testifying expert and/or his or her staff are also exempt from discovery.

                       (c)     Discovery of materials provided to testifying experts shall be limited to

       those materials, facts, consulting expert opinions, and other matters actually relied upon by the

       testifying expert in forming his or her final report, trial, or deposition testimony or any opinion in

       this case. No discovery can be talcen from any non-testifying expert except to the extent that such

       non-testifying expert has provided information, opinions, or other materials to a testifying expert

       relied upon by that testifying expert in forming his or her final report(s), trial, and/or deposition

       testimony or any opinion in this case or that is otherwise discoverable under Rule 26(b)(4)(D).

                       (d)     No conversations or communications between counsel and any testifying or

       consulting expert will be subject to discovery unless the conversations or communications are

       relied upon by such experts in formulating opinions that are presented in reports or trial or

       deposition testimony in this case.

                       (e)     Materials, communications, and other information exempt from discovery

       under the foregoing Paragraphs 20(a)—(d) shall be treated as attorney-work product for the

       purposes of this litigation and Order.

                       (f)     Nothing in this Protective Order, including Paragraphs 20(a)—(e), shall alter

       or change in any way the recluirements in Paragraph 1 I regarding Source Code, and Paragraph 11

       shall control in the event of any conflict.

               21. MISCELLANEOUS

                       (a)     Right to Further Relief. Nothing in this Order abridges the right of any

       person to seek its modification by the Court in the future. By stipulating to this Order, the Parties


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        do not waive the right to argue that certain material may require additional or different

        confidentiality protections than those set forth herein.

                       (b)     Termination of Matter and Retention of Jurisdiction. The Parties agree that

        the terms of this Protective Order shall survive and remain in effect after the FinaI Determination

        of the above-captioned matter. The Court shaIl retain jurisdiction after Final Determination of this

        matter to hear and resolve any disputes arising out of this Protective Order.

                       (c)     Successors. This Order shall be binding upon the Parties hereto, their

       attorneys, and their successors, executors, personal representatives, administrators, heirs, legal

        representatives, assigns, subsidiaries, divisions, employees, agents, retained consultants and

        experts, and any persons or organizations over which they have direct control.

                       (d)     Right to Assert Other Objections. By stipulating to the entry of this

        Protective Order, no Party waives any right it otherwise would have to object to disclosing or

        producing any information or item. Similarly, no Party waives any right to object on any ground

       to use in evidence of any of the material covered by this Protective Order. This Order shall not

       constitute a waiver of the right of any Party to claim in this action or otherwise that any Discovery

       Material, or any portion thereof, is privileged or otherwise non-discoverable, or is not admissible

       in evidence in this action or any other proceeding.

                       (e)     Burdens of Proof. Notwithstanding anything to the contrary above, nothing

       in this Protective Order shall be construed to change the burdens of proof or legal standards

       applicable in disputes regarding whether particular Discovery Material is conf dential, which IeveI

       of confidentiality is appropriate, whether disclosure should be restricted, and if so, what

       restrictions should apply.




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                       (f)     Modification by Court. This Order is subject to further court order based

        upon public policy or other considerations, and the Court may modify this Order sua sponte in the

        interests of justice. The United States District Court for the Southern District of Florida is

        responsible for the interpretation and enforcement of this Order. All disputes concerning Protected

        Material, however designated, produced under the protection of this Order shall be resolved by the

        United States District Court for the Soutliern District of Florida.

                       (g)     Discovery Rules Remain Unchanged. Nothing herein shall alter or change

        in any way the discovery provisions of the Federal Rules of Civil Procedure, the Local Rules for

        the United States District Court for the Southern District of Florida, or the Court's own orders.

        Identification of any individual pursuant to this Protective Order does not make that individual

        available for deposition or any other form of discovery outside of the restrictions and procedures

        of the Federal Rules of Civil Procedure, the Local Rules for the United States District Court for

        the Southern District of Florida, or the Court's own orders.



        SO ORDERED.

                                                                                          /a//3/ao i9'


                                                    WILLIAM MATT~EWMAN
                                                    UNITED STATE MAGISTRATE JUDGE




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                                                   EXHISIT A



                I,                             -   , acknowledge and declare that I have received a

       copy of the Protective Order ("Order") in Apple Inc. v. Corellium, LLC, United States District

       Court, Southern District of Florida, Civil Action No. 9:19-cv-81.160-RS. Having read and

       understood the terms of the Order, I agree to be bound by the terms of the Order and consent

       to tIie jurisdiction of said Court for the purpose of any proceeding to enforce the terms of the

       Order.


                Name of individual:

                Present occupation/job description:




                Name of Company or Firm:

                Address:


                Dated:



                                                           [Signature]




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